 

 

IN RE: Case No.: 18-22930-LMI
MARIELA C. ROMAN ' CHAPTER 7
Debtor

AND NOW, comes Debtor Mariela Roman ("Ms. Roman"), Pro Se,

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UNITED STATES DISTRICT COURT H
SOUTHERN DISTRICT OF FLORIDA ZLW
MIAMI DIVISION LQ

MOTION FOR RECONSIDERATION OF ORDER
DECLARING THAT AUTOMATIC STAY
IS INAPPLICABLE TO RESTITUTION JUDGMENT

 

 

files the within Motion for Reconsideration of Order Declaring

That Automatic Stay is Inapplicable to Restitution Judgment

averring:

BACKGROUND

On November 28, 2018, this Court entered an order granting
the Government's Motion for Order Declaring That Automqtic

Stay is Applicable to Restitution Judgment. `
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On December 4, 2018, debtor filed a Motion for Extension
to File a Motion for Reconsideration of the Order Decl ring
That Automatic Stay is Inapplicable to Restitution Jud ment.
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On December 21, 2018, this Court granted the extension to

file a Motion for Reconsideration. 1

 

 

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ARGUMENT

The government's motion is flawed and misrepresents the

facts and case law.

Within the government's own motion is debtor Mariela

Roman's Judgment In a Criminal Case marked Exhibit "A."

In Ms. Roman's judgment the terms of payment are clearly

 

listed and may not be changed without the criminal

Court's permission to alter Ms. Roman's judgment.

The government now comes with a hypothetical argument
about what it may do in the future. This Court must no

allow the government this broad leeway.

Under the current and ONLY order relating to Ms. Romanls
criminal proceeding and restitution, Ms. Roman is to pay
$25.00 per quarter while incarcerated; Ms Roman is

currently incarcerated. Exhibit 1.

Most important to this instant action is that the
government has notpetitioned the criminal Court seeking
to change Ms. Roman's restitution payments or enforce

any other means of obtaining assets.

 

 

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never actually pursued the option, not because they didn

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The government's request also is counterproductive to
its alleged objective: obtaining assets to pay Ms.

Roman's restitution.

MS. Roman seeks the stay in an effort to stay foreclosure

of her properties. Ms. Roman's intentions are to seek a

loan modification to keep the properties afloat.

Furthermore, even a cursory review of debtor's properties

will show she is upside down; the properties are worth

less than the current mortgage.

Recently the Supreme Court, in a unanimous decision in
Honeycutt v. United States, 137 S. Ct. 1626, sharply

criticized the government for drastically overreaching

 

its authority in its efforts to collect assets from

criminal defendants.

Although Honeycutt deals with forfeiture, it exposes the

government's aggressive, unethical means.

This Court should be made aware that the government,

although it threatened forfeiture of Ms. Roman'S propert

want to, but because they would not have been successful

 

 

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Honeycutt did two things when it stopped the government

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from seizing assets not associated with the crime:

(1) 21 U.S.C.S. § 853(a)'s limitation of forfeiture to

tainted property acquired or used by the defendant,

together with the plain text of 21 U.S.C.S. § 853(a)(1),

foreclosed joint and several liability for coconspirators;

(2) Forfeiture pursuant to 21 U.S.C.S. § 853(a)(1) was
limited to property the defendant himself actually

acquired as a result of the crime.

Debtor points this out to show this Court that the personal

property included in the bankruptcy petition was not the
subject of ill gotten gain, but was obtained through hard
work and savings, or the government would have followedj

through with a forfeiture.

SUMMARY

The government has no pending action currently involving

Ms. Roman, involving her criminal case or restitution,

The judgment in Ms. Roman's criminal case makes clear the
method and terms of payment required of Ms. Roman, during

her incarceration as well as after her incarceration.

 

 

 

 

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The government must seek judicial approval from the

criminal Court to alter the restitution terms listed

in the final judgment.

Debtor Ms. Roman only seeks to stay to hopefully prevent

foreclosure of the properties.

Ms. Roman intends to work with the lenders on those properties

so that she can modify the terms of the mortgages, in an

effort to keep the properties and fulfill her financial

responsibility to the lenders.

Ms. Roman questions whether the government has any stan
in the matter without pending litigation against the su

properties:

l) 243 N.E. 3rd Street, #1107, Miami, Florida
2) 11263 S.W. 74 Street, Miami, Florida

3) 3586 S.W. 154 Place, Miami, Florida

As this Court is well aware, the government does not si
in first position as a debtor; the banks holding the

mortgages hold first position.

Therefore, the government is not harmed by allowing the

automatic stay to be implemented.

 

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26. Lastly» there is no equity in any of the subject

properties.

27. For all the reasons cited above, Debtor, Mariela C. Ro an,
asks this Honorable Court to reconsider its order and
deny thedgovernment's request to deny the automatic st y

provision.
CONCLUSION

Debtor, Mariel C. Roman, respectfully requests that this Codrt
enter an order granting her Motion of Reconsideration, denying
the government's Motion for Order Declaring That Automatic Stay

Provision is Inapplicable to Restitution Judgment, and any other

relief the Court deems appropriate. _` l

Dated: January 4, 2018 Respectfully Submitted

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy hereof ha been
served via U.S. Mail on the éth day of January, 2018, to : R ss R.
Hartog, Chapter 7 Bankruptcy Trustee, 101 N.E. Third Avenue, Suite
1210, Fort Lauderdale, FL 33301, and to M lene Rodriguez, A$sistant
United States Attorney, 99 N.E. éth Stre , S ite OO, Miamig FLEB132.

By 1
Marial C. Rdman, Pro ge 1
Rjé. No. 11402~104 ?
F 3, Federal Correctional Complex-CAMI
P.O. Box 1027 1
Coleman, FL 33521

 

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UsDc g=§p 2453 (g§v. 09/08) - J,gmr g a cgmiml case P s ors
DEFENDANT: MARIELA ROMAN
CASE NUMBER: 15-20691-CR-COOKE-2

 

CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restith
TOTALS $100.00 $0.00 $2,353,63 7.03

If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United Sta es is paid.

Restitution with Imprisonment - It is further ordered that the defendant shall pay estitution in the
amount of $2,353,637.03$. During the period of incarceration, payment shall be made as ollows: (1) if the
defendant earns wages in a Federal Prison Industries (UNICOR) job, then the defendant ust pay 50% of
wages earned toward the financial obligations imposed by this Judgment in a Crimin Case; (2) if the
defendant does not work in a UNICOR job, then the defendant must pay a minimum of $ 5.00 per quarter
toward the financial obligations imposed in this order. Upon release of incarceration, th defendant shall
pay restitution at the rate of 10% of monthly gross earnings, until such time as the cou may alter that
payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probatio Office and U.S.
Attorney’s Office shall monitor the payment of restitution and report to the court any aterial change in
the defendant’s ability to pay. These payments do not preclude the government from usi g other assets or
income of the defendant to satisfy the restitution obligations.

* Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.

**Assessment due immediately unless otherwise ordered by the Court.

 

  
   

 

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